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COL SICIAL PANEL ON
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PATRICIA 2. HOT Aa
DOCKET NO. 652 CLERK GF THE PANE,

BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION
IN RE ROPE ANTITRUST LITIGATION
. TRANSFER ORDER

All parties to the actions listed on the attached Schedule A agree
upon the desirability of transfer, pursuant to 28 U.S.C. §1407, of the
actions pending in the Northern District of California to the Middle
District of Pennsylvania for coordinated or consolidated pretrial
proceedings with the actions pending in that district — The Panel
has found upon consideration of the papers submitted=—’ that these
actions involve common questions of fact and that transfer will serve
the convenience of the parties and witnesses and promote the just and
efficient conduct of this litigation.

IT IS THEREFORE ORDERED that, pursuant to 28 U.S.C. §1407, the
actions listed on the attached Schedule A and pending in the Northern
District of California be, and the same hereby are, transferred to the
Middle District of Pennsylvania and, with the consent of that court,

i assigned to the Honorable Richard P. Conaboy for coordinated or
Q@eorsctisatee pretrial proceedings with the actions pending in that
district and listed on Schedule A.

FOR THE PANEL:
Cordon & Coffin

Andrew A. Caffrey
Chairman

 

Y/ The Panel has been advised of the pendency of several recently

filed related actions. These actions and any additional actions will
be treated as potential tag-along actions. See Rules 9 and 10,
R.P.J.P.M.L., 89 F.R.D. 273, 278-80 (1981).

2/ The parties waived oral argument and accordingly the question of

transfer of these actions under Section 1407 was submitted on the
briefs. Rule 14, R.P.J.P.M.L., id. at 283-84.
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SCHEDULE A

MDL-652 -- In re Rope Antitrust Litigation

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Northern District of California

Cotter & Co. v. Wall Industries, Inc., et al., C.A. No.
C-85-3604-SC

Koblick Supply, Inc. v. American Mfg. Co., Inc., et al., C.A.
No. C-65-3522-CAL ,

South Bay Marina, Inc. v. American Mfg. Co., Inc., C.A. No.
C-85-3521-WHO

Middle District of Pennsylvania

Big D Building Supply Corp. v. Gurdon W. Wattles, et al.,.
oA. NO. 05-9218
Elisha Webb & Son Co. v. Gurdon W. Wattles, et al., C.A. No.

65-9361
